                      EXHIBIT G


             (First Declaration of V. Pandey)




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                  Exhibit B




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STRICTLY PRIVATE, CONFIDENTIAL AND PRIVILEGED


Confidentiality Agreement




                         5 Stratford Place, London, W1C 1AX
                        Tel: 0207 529 5420 Fax: 0207 495 7450
                                www.burlingtonsllp.com
                                    Ref: DH/AZI




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This agreement is dated ……………………………………………

Parties

(1)     Burlingtons Legal LLP incorporated and registered in England and Wales with company
        number OC360876 whose registered office is at 5 Stratford Place, London, W1C 1AX
        (Party 1).
(2)     Vikash Kumar Pandey of S/O Narmda Prasad Pandey, 272 N Pa Pasan, Pasan, Maharani
        Laxmi Ward No 12, Kotma, Anuppur, Madhya Pradesh – 484336 (Party 2).

BACKGROUND


(A)     The parties intend to enter into discussions relating to the Purpose which will involve the
        exchange of Confidential Information between them.
(B)     The parties have agreed to comply with this agreement in connection with the disclosure
        and use of Confidential Information.

Agreed terms

1.      Interpretation

1.1     Definitions:
        Business Day: a day other than a Saturday, Sunday or public holiday in England when
        banks in London are open for business.
        Confidential Information: has the meaning given in clause 2.
        Discloser: a party to this agreement when it discloses its Confidential Information, directly
        or indirectly, to the other party.
        Group: in relation to a company, that company, any subsidiary or any holding company
        from time to time of that company, and any subsidiary from time to time of a holding
        company of that company. Each company in a Group is a member of the Group.
        Group Company: in relation to a company, any member of its Group.
        Holding company: has the meaning give in clause 1.2(e).
        Purpose: to assist in relation to ongoing litigation (including arbitration and other forms of
        dispute resolution fora) concerning Party 1 and / or Party 1’s clients.
        Recipient: a party to this agreement when it receives Confidential Information, directly or
        indirectly, from the other party.


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        Representative(s): in relation to each party and any member of its Group:
                a)     its officers and employees that need to know the Confidential Information
                for the Purpose;
                b)    its professional advisers or consultants who are engaged to advise that
                party and/or any member of its Group in connection with the Purpose;
                c)  its contractors and sub-contractors engaged by that party and/or any
                member of its Group in connection with the Purpose; and
                d)    any other person to whom the other party agrees in writing that Confidential
                Information may be disclosed in connection with the Purpose.
        Subsidiary: has the meaning given in clause 1.2(e).

1.2     Interpretation.
          (a)   A reference to a statute or statutory provision is a reference to it as amended or
                re-enacted. A reference to a statute or statutory provision includes any
                subordinate legislation made under that statute or statutory provision, as
                amended or re-enacted.
          (b)   Any words following the terms including, include, in particular, for example or
                any similar expression shall be construed as illustrative and shall not limit the
                sense of the words, description, definition, phrase or term preceding those terms.
          (c)   A reference to writing or written includes fax and email.
          (d)   A reference to a company shall include any company, corporation or other body
                corporate, wherever and however incorporated or established.
          (e)   A reference to a holding company or a subsidiary means a holding company
                or a subsidiary (as the case may be) as defined in section 1159 of the Companies
                Act 2006 and a company shall be treated, for the purposes only of the
                membership requirement contained in section 1159(1)(b) and (c), as a member
                of another company even if its shares in that other company are registered in the
                name of:
                  (i)     another person (or its nominee) by way of security or in connection with
                          the taking of security; or
                  (ii)    its nominee.
          (f)   Any obligation on a party not to do something includes an obligation not to allow
                that thing to be done.

2.      Confidential Information

2.1     Confidential Information means all confidential information relating to the Purpose which
        the Discloser or its Representatives or any of its Group Companies, or their

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        Representatives directly or indirectly discloses, or makes available, to the Recipient or its
        Representatives or any of its Group Companies, or their Representatives, before, on or
        after the date of this agreement. This includes:
          (a)    the fact that discussions and negotiations are taking place concerning the
                 Purpose and the status of those discussions and negotiations;
          (b)    the existence and terms of this agreement;
          (c)    all confidential or proprietary information relating to:
                  (i)    the business, affairs, customers, clients, suppliers, plans, intentions, or
                         market opportunities of the Discloser or of any of the Discloser's Group
                         Companies; and
                  (ii)   the operations, processes, product information, know-how, technical
                         information, designs, trade secrets or software of the Discloser, or of any
                         of the Discloser's Group Companies;
          (d)    any information, findings, data or analysis derived from Confidential Information;
                 and
          (e)    any other information that is identified as being of a confidential or proprietary
                 nature;

        but excludes any information referred to in clause 2.2.

2.2     Information is not Confidential Information if:
          (a)    it is, or becomes, generally available to the public other than as a direct or indirect
                 result of the information being disclosed by the Recipient or its Representatives
                 or by any of the Recipient's Group Companies or their Representatives in breach
                 of this agreement (except that any compilation of otherwise public information in
                 a form not publicly known shall still be treated as Confidential Information);
          (b)    it was available to the Recipient on a non-confidential basis prior to disclosure by
                 the Discloser;
          (c)    it was, is, or becomes available to the Recipient on a non-confidential basis from
                 a person who, to the Recipient’s actual knowledge, is not under any confidentiality
                 obligation in respect of that information;
          (d)    it was lawfully in the possession of the Recipient before the information was
                 disclosed by the Discloser; and
          (e)    the parties agree in writing that the information is not confidential.




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3.      Confidentiality obligations

3.1     In return for the Discloser making Confidential Information available to the Recipient, the
        Recipient undertakes to the Discloser that it shall:
          (a)   keep the Confidential Information secret and confidential;
          (b)   not use or exploit the Confidential Information in any way except for the Purpose;
          (c)   not disclose or make available any Confidential Information in whole or in part to
                any person, except as expressly permitted by, and in accordance with this
                agreement.

3.2     The Recipient shall establish and maintain adequate security measures (including any
        reasonable security measures proposed by the Discloser from time to time) to safeguard
        the Confidential Information from unauthorised access or use.

4.      Permitted disclosure

4.1     Disclosure to Representatives.
          (a)   The Recipient may disclose the Confidential Information to its Representatives,
                any of its Group Companies, or their Representatives on the basis that it:
                  (i)    informs those Representatives, Group Companies or their
                         Representatives of the confidential nature of the Confidential Information
                         before it is disclosed; and
                  (ii)   takes reasonable steps to procure that those Representatives, Group
                         Companies or their Representatives comply with the confidentiality
                         obligations in clause 3.1 as if they were the Recipient.
          (b)   The Recipient shall be liable for the actions or omissions of the Representatives,
                any of its Group Companies or their Representatives in relation to the Confidential
                Information as if they were the actions or omissions of the Recipient.

5.      Mandatory disclosure

5.1     Subject to the provisions of this clause 5, a party may disclose Confidential Information to
        the minimum extent required by:
          (a)   an order of any court of competent jurisdiction or any regulatory, judicial,
                governmental or similar body or any taxation authority of competent jurisdiction;
          (b)   the rules of any listing authority or stock exchange on which its shares or those
                of any of its Group Companies are listed or traded; or
          (c)   the laws or regulations of any country to which its affairs or those of any of its
                Group Companies are subject.


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6.      Return or destruction of Confidential Information

6.1     At the reasonable written request of the Discloser, the Recipient shall:
          (a)    destroy all documents and materials containing, reflecting, incorporating or based
                 on the Confidential Information; and
          (b)    to the extent legally and technically practicable, erase all the Confidential
                 Information from its computer and communications systems and devices used by
                 it, or which is stored in electronic form.

6.2     Nothing in clause Error! Reference source not found. shall require the Recipient to
        return or destroy any documents and materials containing or based on the Discloser's
        Confidential Information that the Recipient is required to retain by applicable law, or to
        satisfy the requirements of a regulatory authority or body of competent jurisdiction or the
        rules of any listing authority or stock exchange, to which it is subject. The provisions of
        this agreement shall continue to apply to any documents and materials retained by the
        Recipient pursuant to this clause 6.2.

7.      No obligation to continue discussions

        Nothing in this agreement shall impose an obligation on either party to continue
        discussions or negotiations in connection with the Purpose, or an obligation on each party,
        or any of its Group Companies to disclose any information (whether Confidential
        Information or otherwise) to the other party.

8.      Ending discussions and duration of confidentiality obligations

8.1     If either party decides not to continue to be involved in the Purpose with the other party, it
        shall notify that other party in writing immediately.

8.2     Notwithstanding the end of discussions between the parties in relation to the Purpose
        pursuant to clause 8.1, each party's obligations under this agreement shall continue in full
        force and effect.

8.3     The end of discussions relating to the Purpose shall not affect any accrued rights or
        remedies to which either party is entitled.

9.      No partnership or agency

9.1     Nothing in this agreement is intended to, or shall be deemed to, establish any partnership
        or joint venture between the parties, constitute any party the agent of another party, or
        authorise any party to make or enter into any commitments for or on behalf of any other
        party.



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9.2     Each party confirms it is acting on its own behalf and not for the benefit of any other person.

10.     General

10.1    Assignment and other dealings. Neither party shall assign, transfer, mortgage, charge,
        subcontract, declare a trust over or deal in any other manner with any of its rights and
        obligations under this agreement.

10.2    Entire agreement
           (a)    This agreement constitutes the entire agreement between the parties and
                  supersedes and extinguishes all previous agreements, promises, assurances,
                  warranties, representations and understandings between them, whether written
                  or oral, relating to its subject matter.
           (b)    Each party agrees that it shall have no remedies in respect of any statement,
                  representation, assurance or warranty (whether made innocently or negligently)
                  that is not set out in this agreement. Each party agrees that it shall have no claim
                  for innocent or negligent misrepresentation or negligent misstatement based on
                  any statement in this agreement.

10.3    Variation. No variation of this agreement shall be effective unless it is in writing and signed
        by the parties (or their authorised representatives).

10.4    Waiver. No failure or delay by a party to exercise any right or remedy provided under this
        agreement or by law shall constitute a waiver of that or any other right or remedy, nor shall
        it prevent or restrict the further exercise of that or any other right or remedy. No single or
        partial exercise of such right or remedy shall prevent or restrict the further exercise of that
        or any other right or remedy.

10.5    Severance
           (a)    If any provision or part-provision of this agreement is or becomes invalid, illegal
                  or unenforceable, it shall be deemed modified to the minimum extent necessary
                  to make it valid, legal and enforceable. If such modification is not possible, the
                  relevant provision or part-provision shall be deemed deleted. Any modification to
                  or deletion of a provision or part-provision under this clause shall not affect the
                  validity and enforceability of the rest of this agreement.

10.6    Notices
           (a)    Any notice or other communication given to a party under or in connection with
                  this agreement shall be in writing and shall be:




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                 (i)      delivered by hand or by pre-paid first-class post or other next working day
                          delivery service at its registered office (if a company) or its principal place
                          of business (in any other case); or
                 (ii)     sent by email to the following addresses:
                         (A)    Party 1: dominic.holden@burlingtons.legal
                         (B)    Party 2: vikz.hax@gmail.com
         (b)    Any notice or communication shall be deemed to have been received:
                 (i)      if delivered by hand, on signature of a delivery receipt or at the time the
                          notice is left at the proper address; and
                 (ii)     if sent by pre-paid first-class post or other next working day delivery
                          service, at 9.00 am on the second Business Day after posting or at the
                          time recorded by the delivery service; and
                 (iii)    if sent by email, at the time of transmission, or, if this time falls outside
                          business hours in the place of receipt, when business hours resume. In
                          this Clause 10.6(b)(iii), business hours means 9.00am to 5.00pm Monday
                          to Friday on a day that is not a public holiday in the place of receipt.
         (c)    This clause does not apply to the service of any proceedings or other documents
                in any legal action or, where applicable, any arbitration or other method of dispute
                resolution.
         (d)    A notice given under this agreement is not valid if sent by email.

10.7   Third party rights
         (a)    Unless it expressly states otherwise, this agreement does not give rise to any
                rights under the Contracts (Rights of Third Parties) Act 1999 to enforce any term
                of this agreement.
         (b)    The rights of the parties to rescind or vary this agreement are not subject to the
                consent of any other person.

10.8   Governing law. This agreement and any dispute or claim (including non-contractual
       disputes or claims) arising out of or in connection with it or its subject matter or formation
       shall be governed by and construed in accordance with the law of England and Wales.

10.9   Jurisdiction. Each party irrevocably agrees that the courts of England and Wales shall
       have exclusive jurisdiction to settle any dispute or claim (including non-contractual
       disputes or claims) arising out of or in connection with this agreement or its subject matter
       or formation.




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This agreement has been entered into on the date stated at the beginning of it.


 Signed by Dominic Holden                                        ....................
 and on behalf of Burlingtons
                                                                 Partner
 Legal LLP



 Signed by                                                       ....................
 Vikash Kumar Pandey




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                 Exhibit C




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                 Exhibit D




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                       DATED                                               04 SEPTEMBER 2020




                                                    VIKASH KUMAR PANDEY


                                                             - and -

                                                   BURLINGTONS LEGAL LLP




                                                  CONSULTANCY AGREEMENT




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                                         04
            AGREEMENT IS MADE ON …… SEPTEMBER 2020



            BETWEEN:

            (1)         Vikash Kumar Pandey of S/O Narmada Pasad Pandey, 272 N Pa Pasan, Pasan,
                        Maharani Laxmi Ward No 12, Kotma Anuppur, Madhya Pradesh - 484336 (“the
                        Consultant”); (“the Consultant”); and

            (2)         Burlingtons Legal LLP incorporated and registered in England & Wales with company
                        number OC360876 whose registered office is at 5 Stratford Place, London W1C 1AX
                        ("Burlingtons").



            WHEREAS:

                  (A)       The Consultant is an IT expert and ex-employee of Cyber Root Risk Advisory Private
                            Limited (“CR”).

                  (B)       Burlingtons are the English solicitors acting for Mr. Azima who is the Defendant,
                            Counterclaimant and Proposed Appellant in proceedings commenced by Ras Al
                            Khaimah Investment Authority ("RAKIA") in the High Court in London under Claim No.
                            HC-2016-002798 (the "RAKIA Proceedings"). The RAKIA Proceedings concern,
                            amongst other matters, the hacking of Mr. Azima’s emails in around 2015 / 2016 (“the
                            Hack”).

                  (C)       The Consultant has agreed to provide assistance to Burlingtons in relation to their
                            investigation into the Hack (“the Hacking Investigation”).

                  (D)       It is understood that by assisting Burlingtons with the Hacking Investigation (“the
                            Purpose”) the Consultant is risking his reputation within the IT industry and his
                            personal security and that the Consultant may be required to incur substantial costs to
                            ensure that his personal security is protected.

                  (E)       The Consultant has dedicated time, and will need to dedicate further time, to providing
                            information and assistance in connection with the Hacking Investigation. It is agreed
                            that the Consultant will be engaged for the Purpose on the terms set out below.



            IT IS AGREED:

            1.          INTERPRETATION

            1.1         In this Agreement:

                        "Commencement Date" means 1 August 2020;

                        "Confidential Information" means confidential or secret information relating to Mr. Azima
                        and / or the Hacking Investigation, including, without limitation, the existence and terms of
                        this Agreement and any communications between Burlingtons (and / or its agents and / or
                        advisers) and the Consultant;

                        "Services" means the services described in clause 3.




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            1.2     In this Agreement, any reference to a statutory provision is a reference to the provision from
                    time to time renumbered, amended, re-enacted or consolidated.

            1.3     In this Agreement, unless the context otherwise requires:

                    (a)     references to clauses are to clauses of this Agreement; and

                    (b)     the headings to the clauses are for convenience only and do not affect the
                            Agreement's construction or interpretation.

            2.      APPOINTMENT

            2.1     With effect from the Commencement Date, Burlingtons has engaged the Consultant to
                    perform the Services.

            3.      SERVICES

            3.1     During his engagement under this Agreement, the Consultant will give information and
                    assistance to Burlingtons and / or its agents in connection with the Hacking Investigation.

            3.2     The Consultant acknowledges that this could involve, but is not limited to, assisting in
                    relation to any regulatory or legal process, preparing witness statements and giving
                    evidence in person.

            3.3     Without prejudice to the generality of clause 3.1, the Consultant shall make himself
                    available for meetings for up to 30 hours per calendar month (via Zoom or other form of
                    agreed upon video conferring platform), such meetings to take place at Burlington’s request
                    upon giving the Consultant at least 3 business days' notice; and

            3.4     The Consultant represents, warrants and agrees that:

                    (a)     any information or assistance provided to Burlingtons pursuant to this Agreement
                            will be complete and accurate, and will be given truthfully to the best of the
                            Consultant's knowledge and belief.

                    (b)     he is a former employee of CR and has knowledge of the practices of the company.

                    (c)     The execution, delivery and performance of this agreement will not conflict with:-

                            (i)      Any law or regulation applicable to him; and / or

                            (ii)     Any agreement or instrument binding upon him.

            3.5     The Consultant shall indemnify Burlingtons against all liabilities, costs, expenses, damages
                    and losses (including but not limited to any direct, indirect or consequential losses, loss of
                    profit, loss of reputation and all interest, penalties and legal costs (calculated on a full
                    indemnity basis) and all other reasonable professional costs and expenses) suffered or
                    incurred arising out of or in connection with:-

                    (a)     Any breach of the warranties contained in clause 3.4.

                    (b)     Any breach of this agreement.

                    (c)     The enforcement of this agreement.

                    (d)     Any claim made against Burlingtons by a third party arising out of or in connection
                            with the provision of the Services.




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            3.6     It is agreed that no information or documentation (except as required by an order of a court
                    of competent jurisdiction, or pursuant to any proper order or demand made by any
                    competent authority or body where Burlingtons is under a legal or regulatory obligation to
                    disclose the information and / or documentation) provided by the Consultant pursuant to
                    this Agreement will be used by Burlingtons (on behalf of Mr. Azima) in support of any,
                    action, claim, or prosecution against the Consultant in relation to his liability for the Hack.

            4.      REMUNERATION

            4.1     Subject to the terms of this Agreement, Burlingtons shall pay the Consultant the sum of
                    $550 per hour (exclusive of any applicable VAT) in consideration for the provision of the
                    Services for a period of at least 18 months.

            4.2     Subject to Burlingtons’ prior written approval, Burlingtons shall reimburse all reasonable
                    expenses properly and necessarily incurred by the Consultant in the course of this
                    Agreement, subject to production of receipts or other appropriate evidence of payment.

            4.3     The payment referred to at paragraph 4.1 shall include all work undertaken and assistance
                    provided to Burlingtons by the Consultant to the date of this Agreement.

            4.4     The period of service referred to at paragraph 4.1 may be extended by written agreement
                    between the parties.

            5.      CONFIDENTIAL INFORMATION

            5.1     The Consultant will not, except with the prior written consent of Burlingtons or pursuant to
                    an order of a court of competent jurisdiction, or pursuant to any proper order or demand
                    made by any competent authority or body where the Consultant is under a legal or
                    regulatory obligation to make such disclosure, or to the Consultant’s lawyers, auditors or
                    insurers on terms which preserve confidentiality:

                    (a)     disclose or communicate to any person, firm or company;

                    (b)     cause unauthorised disclosure of; or

                    (c)     otherwise make use of,

                    any Confidential Information that he has or may have acquired in the course of his
                    engagement (whether before, on or after the date of this Agreement) and will use his best
                    endeavours to prevent the unauthorised disclosure or publication of such information. This
                    obligation survives the termination of this Agreement.

            5.2     The obligations in clause 5.1 will cease if the relevant Confidential Information comes into
                    the public domain other than through the Consultant's default or negligence.

            6.      TERMINATION

            6.1     Upon the termination of this Agreement for whatever reason, the Consultant will deliver up
                    all property and any documents or other information belonging to Burlingtons (and / or to
                    Mr. Azima), including any Confidential Information, whether held electronically or in hard
                    copy, which is in the Consultant's possession or under his control. The Consultant will not
                    retain any copies of any such property, documents or information without written permission
                    from Burlingtons.

            6.2     The termination of this Agreement will not affect any of the provisions of this Agreement
                    that are expressed to operate or have effect after its termination (including without limitation
                    clause 5.1) and will not prejudice the exercise of any right or remedy of either party that has
                    accrued prior to termination.




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            7.      STATUS

            7.1     The relationship of the Consultant to Burlingtons will be that of independent contractor and
                    nothing in this Agreement shall render him an employee, worker, agent or partner of
                    Burlingtons and the Consultant shall not hold himself out as such.

            7.2     This Agreement constitutes a contract for the provision of services and not a contract of
                    employment and accordingly the Consultant shall be fully responsible for and shall
                    indemnify Burlingtons for and in respect of:

                    (a)      any income tax, National Insurance and social security contributions and any other
                             liability, deduction, contribution, assessment or claim arising from or made in
                             connection with the performance of the Services, where the recovery is not
                             prohibited by law. The Consultant shall further indemnify Burlingtons against all
                             reasonable costs, expenses and any penalty, fine or interest incurred or payable by
                             Burlingtons in connection with or in consequence of any such liability, deduction,
                             contribution, assessment or claim; and

                    (b)      any liability arising from any employment-related claim or any claim based on
                             worker status (including reasonable costs and expenses) brought by the Consultant
                             against Burlingtons arising out of or in connection with the provision of the Services.

            8.      MISCELLANEOUS

            8.1     This Agreement contains the entire agreement and understanding of the parties and
                    supersedes all prior agreements, understandings or arrangements (both oral and written)
                    relating to the subject matter of the same.

            8.2     If a provision of this Agreement is found to be illegal, invalid or unenforceable, then to the
                    extent it is illegal, invalid or unenforceable, that provision will be given no effect and will be
                    treated as though it were not included in this Agreement, but the validity or enforceability of
                    the remaining provisions of this Agreement will not be affected.

            8.3     This Agreement may be entered into in any number of counterparts and any party may
                    enter into this Agreement by executing any counterpart. A counterpart constitutes an
                    original of this Agreement and all executed counterparts together have the same effect as
                    if each party had executed the same document.

            8.4     The parties do not intend by virtue of this Agreement to confer any rights on any third party
                    pursuant to the provisions of the Contracts (Rights of Third Parties) Act 1999, except that
                    any Group Company shall be entitled to enforce this Agreement.

            9.      APPLICABLE LAW AND JURISDICTION

            9.1     Any dispute arising out of or in connection with this contract, including any question
                    regarding its existence, validity or termination, shall be referred to and finally resolved by
                    arbitration under the LCIA Rules, which Rules are deemed to be incorporated by reference
                    into this clause.

            9.2     The number of arbitrators shall be one.

            9.3     The seat, or legal place, of arbitration shall be London.

            9.4     The language to be used in the arbitral proceedings shall be English.




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            9.5     The governing law of the contract shall be the substantive law of England & Wales.

             Signed by Burlingtons Legal LLP                 )
                                                             )
                                                             )
                                                                 Dominic Holden
                                                             )
                                                             )   Partner

                                                                 04 September 2020




             Signed by Vikash Kumar Pandey                   )
                                                             )
                                                             )
                                                             )
                                                             )




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                  Exhibit E




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